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                         IN THE UNITED STATES BANKRUPTCY COURT

                                 FOR THE DISTRICT OF DELAWARE

In re:                                               ) Chapter 11

QUIKSILVER,INC., et al.,                             ) Case No. 15-11880(BLS)

                     Debtors.'                       ) Jointly Administered

                                                              Objection Deadline: March 11, 2016 at 4:00 p.m.
                                                                  Hearing Date: March 31,2016 at 10:30 a.m.


 NOTICE OF FILING FIRST QUARTERLY APPLICATION FOR COMPENSATION
 AND REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG ZIEHL &JONES
 LLP,AS CO-COUNSEL TO THE DEBTORS AND DEBTORS IN POSSESSION,FOR
    THE PERIOD FROM SEPTEMBER 9,2015 THROUGH DECEMBER 31,2015

                 PLEASE TAKE NOTICE that on February 19, 2016, Pachulski Stang Ziehl &

Jones LLP, co-counsel to the above-captioned debtors and debtors in possession (the "Debtors")

filed and served the First Quarterly Application foN Compensation and Reimbursement of

Expenses ofPachulski Stang Ziehl &Jones LLP, as Co-Counsel to the Debtors and Debtors In

Possession, for the Period from September 9, 201S through DecembeN 31, 201S (the "Fee

Application"), seeking compensation for the reasonable and necessary services rendered to the

Debtors in the amount of $134,903.00, and reimbursement for actual and necessary expenses in

the amount of $4,084.09.

                 PLEASE TAKE FURTHER NOTICE that objections or responses to the Fee

Application, if any, must be made in writing and filed with the IJnited States Bankruptcy Court




   The Debtors and the last four digits of their respective taxpayer identification numbers are as follows:
Quiksilver, Inc.(9426), QS Wholesale, Inc.(8795), DC Direct, Inc.(8364), DC Shoes, Inc.(0965), Fidra, Inc.
(8945), Hawk Designs, Inc.(1121), Mt. Waimea, Inc.(5846), Q.S. Optics, Inc.(2493), QS Retail, Inc.(0505),
Quiksilver Entertainment, Inc. (9667), and Quiksilver Wetsuits, Inc. (9599). The address of the Debtors'corporate
headquarters is 5600 Argosy Circle, Huntington Beach, California 92649.


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for the District of Delaware, 824 North Market Street, Wilmington, Delaware 19801, on or

before March 11, 2016, at 4:00 p.11l. Prevailing Eastern Time.

                  The Fee Application is submitted pursuant to the ONder Establishing Procedures

for InteNim Compensation and Reimbursement ofExpenses ofProfessionals entered by this Court

on October 22, 2012 [Docket No. 321](the "Administrative Order")

                  At the same time, you must also serve a copy of the objection or response, if any,

upon the following:          (i) Quiksilver, Inc., 5600 Argosy Circle, #100, Huntington Beach,

California 92649, Attn: Andrew Bruenjes; (ii) counsel to the Debtors: (a) Skadden, Arps, Slate,

Meagher &Flom LLP, 300 S. Grand Ave., Los Angeles, CA 90071, Attn: Van C. Durrer, II,

Esquire (van.durrer@skadden.com) and (b) Skadden, Arps, Slate, Meagher &Flom LLP, 920

North King Street, P.O. Box 636, Wilmington, Delaware 19801, Attn: Dain A. De Souza,

Esquire (Dain.DeSouza@skadden.com); (iii) co-counsel to the Debtors: (a) Pachulski Stang

Ziehl &Jones LLP, 10100 Santa Monica Blvd., 11th Floor, Los Angeles, CA 90067-4100,

Attn: Jeffrey N. Pomerantz, Esquire (jpQmerantz@pszjlaw.cam) and (b) Pachulski Stang Ziehl

& Jones LLP,919 North Market Street, 17th Floor, P.O. Box 8705, Wilmington, DE 19899-8705

(Courier 19801), Attn: Laura Davis Janes, Esquire (ljones@pszjlaw.com); (iv) Office of the

United States Trustee for the District of Delaware, J. Caleb Boggs Building, 844 King Street,

Suite 2207, Lockbox 35, Wilmington, DE 19801, Attn: Mark S. Kenney, Esquire

(mark.kenney@usdoj.gov);(v) counsel to the agent under the Debtors' prepetition revolving loan

facility and postpetition debtor-in-possession revolving loan facility, Riemer Braunstein LLP,

Seven Times Square, Suite 2506, New York, NY 10036, Attn: Steven Fox, Esquire




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(sfox@riemerlaw.com); (vi) counsel to the agent under the Debtors' postpetition debtor-in-

possession term loan facility, Kirkland &Ellis LLP, 300 North LaSalle Street, Chicago, IL

60654, Attn: Patrick J. Nash, Jr., Esquire (patrick.nash@kirkland.com), Ross M. Kwasteniet,

Esquire       (ross.kwasteniet@kirkland.com),      and    William      A.   Guerrieri,   Esquire

(will.guerrieri@kirkland.com); (vii) counsel to the Official Committee of Unsecu~•ed Creditors:

(a) Akin Gump Strauss Hauer &Feld LLP, One Bryant Park, New York, NY 10036, Attn:

Michael S. Starner, Esquire (mstamer@akingump.com) and Meredith A. Lahaie, Esquire

(mlahaie@akingump.com); and (b) Pepper Hamilton LLP, Hercules Plaza, Suite 5100, 1313

North Market Street, Wilmington, DE             19899-1709, Attn: David B. Stratton, Esquire

(strattod@pepperlaw.com) and David M. Fournier, Esquire (fournierd@pepperlaw.com).

                 PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO

RESPOND OR OBJECT IN ACCORDANCE WITH THIS NOTICE,THE COURT

MAY GRANT THE RELIEI' REQUESTED IN THE APPLICATION WITHOUT

FURTHER NOTICE OR HEARING.




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                 PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER

THE APPLICATION WILL BE HELD ON MARCH 31, 2016, AT 10:30 A.M.

PREVAILING EASTERN TIME BEFORE THE HONORABLE BRENDEN L. SHANNON,

UNITED STATES BANKRUPTCY JUDGE, AT THE UNITED STATES BANKRUPTCY

COURT FOR T'HE DISTRICT OF DELAWARE, 824 MARKET STREET, SIXTH FLOOR,

COURTROOM NO. 1, WILMINGTON,DELAWARE 19801.

Dated: February ~,201 h               PACHULSKI STANG ZIEHL &JONES LLP


                                                          ~~!/ ~T~
                                      Laura I~"vis Jones(DE Bar. No. 2436)
                                      James E. O'Neill(DE Bar No. 4042)
                                      Jeffrey N. Pomerantz(CA Bar No. 143717)
                                      John A. Morris(NY Bar No. 4662)
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                                               jmorns@pszjlaw.com

                                      Co-Counsel for the Debtors and Debtors in
                                      Possession




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